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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

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Case No. 1:08-CV-00165-BLW

AFFIDAVIT OF
CURTIS BOWERS

Curtis Bowers, being first duly sworn, deposes on oath and states:

1. lam nota party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

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2. In 2008, | was the incumbent Representative in District 10, House Seat. | was
challenged in the Republican Primary election by Pat Takasugi. During my
campaigning, | met many Democrats who specifically told me they would be
voting in our primary for my moderate opponent.

3. As | campaigned in my district, | used the Republican voter lists while walking
precincts. | only stopped at homes identified in voter lists as Republican voters.
| recall calling on the homes of four (4) democrats because the prior homeowners
listed on our Republican voter lists had moved. Each of these homeowners
identified themselves as Democrats. Three specifically said, “We'll be voting - for
Pat Takasugi”. They also told me that, “we (Democrats) always do that,” as if
cross-over voting was a tradition with the Democratic party in Idaho. None of
these three (3) voters were young Democratic rebels; they were all older
established Democratic grandmothers.

4. Democratic crossover is not an if. It is a fact. | recall an article | read by Bill
Cope in 2006 about a longstanding democratic tradition in Idaho of voting in the
Republican primaries. (the article is “Clown Control” - Boise Weekly, May 17,
2006 — see excerpt below)

a) Yes, come Tuesday, I'm going to the Republican ballot and voting for
Sheila Sorensen. | am, what they call, "cross voting." Democrat party
leaders advise against it, but I've done it plenty of times. In fact, when it
comes to primary elections, I've probably voted Republican more often
than Democrat. And | know I'm not the only one. There is somewhat of a

tradition among Idaho Dems to go Rep in the primaries, and it goes back

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many election cycles. Maybe back as far as the year Steve Symms ran
against Frank Church. Maybe even as far back as when Don Samuelson
bumbled out of Sandpoint to become governor. Who knows? Maybe it's
been around since the baby years of Idaho.

In the past, the idea behind Ds voting R has been that if the Ds help get
the most feeble, the most pathetic, the most obviously unqualified of Rs
onto the general ballot--usually at the expense of the moderate, sensible
Rs--the D has a better chance of winning in November. And in this state,
there has never been a shortage of feeble, pathetic, unqualified Rs to

chose from. http:/Avww.boiseweekly.com/boise/clown-

control/Content?o0id=927860

5. During my primary campaign, | knew that cross-over voting was going to occur,
and | also knew that because it was going to occur, | would be at a decided
disadvantage because people in my District know that | am a hard core
conservative. | had taken several public positions and written several articles on
conservative culture issues that became front-page issues in the paper. Over 40
letters to the editor were written in response to my letters.

6. The clear-cut distinction between the much more moderate Takasugi and my
more conservative and highly public viewpoints provided the perfect environment
for cross over voters. There was no way to counter-balance that.

7. Looking back at my contested primary election, | should have taken more effort

to point out Takasugi’s non party aligned positions to counteract the crossover,

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especially since my positions directly lined up with Party Platform. However, the
reality of cross-over voting in Idaho primaries has created an environment in
which conservative Republican candidates will try not to stir the pot by bringing
up the issues that will agitate the non-party crowd because we have to try to get
those non-party votes in the Republican primary or lose to a more moderate or
liberal candidate. My positions were too publicly documented to take that
approach. | never changed my positions, but | knew that specific issues would
awaken those non-party primary voters and get them to the polls to vote against
me.

8. Open Primaries have affected legislative policies adopted by the State
Legislature. Many of those elected as Republicans have voting records more
aligned with Democratic policy.

9. In my time at the State House, it was not uncommon to hear politicians like Mark
Snodgrass openly speak to the fact that he only ran as a Republican because in
Idaho he could not win as a Democrat. His voting record clearly demonstrated his

alignment with Democratic policy positions instead of the Republican platform.

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10.1 was shocked to see that when a purely IRP platform idea would come along in
legislation that you couldn’t get a straight party line idea passed even though the
Republican party held a clear majority in both the House and Senate. This is
clear evidence of the presence of non-party aligned moderates occupying seats

obtained through cross over voting of non-Republicans.

FURTHER, AFFIANT SAYETH NOT. ME, v
Curtis Bowe
State of Idaho )
) ss.

County of Ade Caryon/ )

Subscribed and sworn to before me, a Notary Public in and for the State of Idaho
on this 2574 day of January, 2010.

Notary Public ¢
My commission expires: 47-7-/0

Residing At: 447744

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